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18                               UNITED STATES DISTRICT COURT
19                                    DISTRICT OF NEVADA
20
21    DONALD J. TRUMP FOR PRESIDENT,           No. 2:20-cv-01445-JCM-VCF
      INC.; REPUBLICAN NATIONAL
22    COMMITTEE; and NEVADA
      REPUBLICAN PARTY,
23                                             AMENDED COMPLAINT FOR
                       Plaintiffs,             DECLARATORY
24                                             AND INJUNCTIVE RELIEF
            v.
25
      BARBARA CEGAVSKE, in her official
26    capacity as Nevada Secretary of State,
27                     Defendant.
28
                                               1
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 1           Plaintiffs Donald J. Trump for President, Inc., the Republican National Committee, and the
 2   Nevada Republican Party bring this action to challenge Assembly Bill 4—a bill passed on Sunday,
 3   August 2, 2020, during the 32nd Special Session of the Nevada Legislature. Plaintiffs allege as
 4   follows:
 5                                              INTRODUCTION
 6           1.      Every American who is eligible to vote should be able to freely do so. Robust
 7   participation in our biennial elections strengthens the Nation’s civic fibers, allowing the United
 8   States of America to retain its place as the world’s preeminent constitutional republic. Thus,
 9   Republicans have always supported efforts to make it easier for voters to cast their ballot. At the
10   same time, however, the electoral process cannot function properly if it lacks integrity and results
11   in chaos. Put simply, the American people must be able to trust that the result is the product of a
12   free and fair election.
13           2.      Nevada’s recently enacted election laws—collectively, AB4—fall far short of this
14   standard. On a straight-party-line vote taken on a Sunday afternoon, the Nevada Legislature passed
15   a 60-page, single-spaced bill first introduced shortly after noon the previous Friday. AB4 adds more
16   than 25 new election-related sections to the Nevada Revised Statutes and amends more than 60

17   others. Many of those provisions will undermine the November election’s integrity. Some go
18   beyond that, crossing the line that separates bad policy judgments from enactments that violate
19   federal law or the United States Constitution.

20           3.      Hence this lawsuit. Our elections must occur under valid laws. Under the U.S.
21   Constitution, states have broad discretion to decide how to conduct their elections. But their election
22   laws must comply with the higher law of the U.S. Constitution and with federal laws enacted under
23   it.
24           4.      Exercising its constitutional power under the Elections Clause and the Electors
25   Clause, Congress has established a uniform, national day to elect members of Congress and to
26   appoint presidential electors. See 2 U.S.C. §§ 1, 7; 3 U.S.C. §1. AB4 contravenes those valid federal
27   laws by requiring elections officials to accept and count ballots received after Election Day even
28   when those ballots lack objective evidence that voters cast them on or before Election Day. In short,
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 1   AB4 effectively postpones and prolongs Nevada’s 2020 general election past the Election Day
 2   established by Congress.
 3           5.      Other provisions in AB4 lack clear standards to guide the actions of county and city
 4   officials administering certain parts of Nevada’s elections. AB4 thus will result in the State treating
 5   Nevada voters differently based on nothing more than their county of residence. That disparate
 6   treatment violates their Fourteenth Amendment right to the equal protection of the laws.
 7           6.      The combined effect of those problems, and others described below, will be to dilute
 8   the votes of some Nevada voters, thereby infringing their right to vote under the Fourteenth
 9   Amendment.
10           7.      New York’s June 2020 primary election confirms that these are not hypothetical
11   concerns. “Elections officials in New York City widely distributed mail-in ballots for the primary
12   on June 23.” Jesse McKinley, Why the Botched N.Y.C. Primary Has Become the November
13   Nightmare, N.Y. Times (Aug. 3, 2020), https://nyti.ms/3fvDrhx. “Now, nearly six weeks later, two
14   closely watched congressional races remain undecided, and major delays in counting a deluge of
15   400,000 mail-in ballots and other problems are being cited as examples of the challenges facing the
16   nation as it looks toward conducting the November general election during the pandemic.” Id. Yet

17   as those very problems unfolded, Nevada’s Democratic leadership still introduced and passed AB4
18   on a weekend, straight-party-line vote. No one should be surprised that such a process produced
19   legislation bearing constitutional flaws.

20           8.      For all these reasons and those alleged below, AB4 is illegal and must be enjoined.
21                                       JURISDICTION AND VENUE
22           9.      This Court has subject matter jurisdiction because this action arises under the
23   Constitution and laws of the United States. 28 U.S.C. §§1331 & 1343.
24           10.     Venue is proper because a substantial part of the events giving rise to the claims
25   occurred in this District, and the Defendants reside in this District. Id. §1391.
26                                                   PARTIES
27           11.     Plaintiff Donald J. Trump for President, Inc. is the principal committee for President
28   Donald J. Trump’s reelection campaign. The committee spends resources, including hiring
                                                            3
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 1   campaign staff, in Nevada to encourage Nevadans to reelect the President. It also spends significant
 2   sums of money in Nevada to further those interests. The committee will devote its resources,
 3   including its campaign staff in Nevada, to monitor the results of the presidential election in Nevada.
 4   Changes to Nevada election laws require the committee to change how it allocates its resources,
 5   and the time and efforts of its campaign staff, to achieve its electoral and political goals.
 6           12.     Plaintiff Republican National Committee (RNC) is a national political party with its
 7   principal place of business at 310 First Street S.E., Washington D.C., 20003.
 8           13.     The RNC organizes and operates the Republican National Convention, which
 9   nominates a candidate for President and Vice President of the United States.
10           14.     The RNC represents over 30 million registered Republicans in all 50 states, the
11   District of Columbia, and the U.S. territories. It is comprised of 168 voting members representing
12   state Republican Party organizations, including three members who are registered voters in Nevada.
13           15.     The RNC works to elect Republican candidates to state and federal office. In
14   November 2020, its candidates will appear on the ballot in Nevada for most federal and state
15   offices. In elections for the U.S. House of Representatives, for example, the Cook Political Report
16   lists two of Nevada’s four house races as “competitive,” with one of those as “likely Democratic”

17   and the other as “lean Democratic.”
18           16.     The RNC has a vital interest in protecting the ability of Republican voters to cast,
19   and Republican candidates to receive, effective votes in Nevada elections and elsewhere. The RNC

20   brings this suit to vindicate its own rights in this regard, and in a representational capacity to
21   vindicate the rights of its members, affiliated voters, and candidates.
22           17.     The RNC also has an interest in preventing AB4’s constitutionally problematic
23   changes to Nevada election law. Major or hasty changes confuse voters, undermine confidence in
24   the electoral process, and create incentive to remain away from the polls. Thus, AB4 forces the
25   RNC to divert resources and spend significant amounts of money educating Nevada voters on those
26   changes and encouraging them to still vote.
27           18.     Plaintiff Nevada Republican Party (NVGOP) is a political party in Nevada with its
28   principal place of business at 2810 West Charleston Blvd. #69, Las Vegas, NV 89102. The Nevada
                                                            4
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 1   Republican Central Committee (NRCC) is the NVGOP’s governing body. The NVGOP and NRCC
 2   exercise their federal and state constitutional rights of speech, assembly, petition, and association
 3   to “provide the statutory leadership of the Nevada Republican Party as directed in the Nevada
 4   Revised statutes,” to “recruit, develop, and elect representative government at the national, state,
 5   and local levels,” and to “promote sound, honest, and representative government at the national,
 6   state and local levels.” NRCC Bylaws, art. II, §§1.A-1.C.
 7           19.     The NVGOP represents over 600,000 registered Republican voters in Nevada as of
 8   August 2020.
 9           20.     The NVGOP has the same interests in this case as the RNC, and seeks to vindicate
10   those interests in the same ways.
11           21.     Defendant Barbara Cegavske is the Secretary of State of Nevada. She serves “as the
12   Chief Officer of Elections” for Nevada and “is responsible for the execution and enforcement of
13   the provisions of title 24 of NRS and all other provisions of state and federal law relating to
14   elections in” Nevada. NRS 293.124. She is sued in her official capacity.
15                                           BACKGROUND
     I.      State laws that set the time, place, and manner of elections for federal offices cannot
16           conflict with contrary federal law or with federal constitutional commands.
17           22.     The U.S. Constitution’s Elections Clause vests state legislatures with power to set
18   the time, place, and manner of congressional elections. U.S. Const., art. I, §4, cl. 1.
19           23.     But the Elections Clause also reserves to “Congress” the power to “at any time by
20   Law make or alter such Regulations, except as to the Places of chusing Senators.” Id.
21           24.     A law governs “‘the election’ of a Senator or Representative” when it “plainly
22   refer[s] to the combined actions of voters and officials meant to make a final selection of an
23   officeholder.” Foster v. Love, 522 U.S. 67, 71 (1997).
24           25.     Exercising its constitutional power to pass laws governing elections for federal
25   offices, Congress has established one specific day as the uniform, national Election Day for
26   members of the United States House of Representatives and of the United States Senate. For both
27   offices, the “Tuesday next after the 1st Monday in November” is “the day for the election.” 2 U.S.C.
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 1   §7 (elections for members of the House of Representatives held on that day “in every even
 2   numbered year”); see also id. §1 (Senators to be elected “[a]t the regular election held in any State
 3   next preceding the expiration of the term for which any Senator was elected to represent such State
 4   in Congress, at which a Representative to Congress is regularly by law to be chosen”).
 5           26.     The U.S. Constitution also vests in “Congress” the power to “determine the Time of
 6   chusing the Electors” for the offices of President and Vice President. U.S. Const. art. II, §1, cl. 4.
 7           27.     Exercising that power, Congress has established that “[t]he electors of President and
 8   Vice President shall be appointed, in each State, on the Tuesday next after the first Monday in
 9   November, in every fourth year succeeding every election of a President and Vice President.” 3
10   U.S.C. §1.
11           28.     Combined, 2 U.S.C. §§1, 7, and 3 U.S.C. §1 establish the Tuesday after the first
12   Monday in November as the uniform, national Election Day for members of Congress and as the
13   uniform, national day for appointing electors for President and Vice President.
14           29.     Those “uniform rules for federal elections” are both “binding on the States” and
15   superior to conflicting state law: “‘[T]he regulations made by Congress are paramount to those
16   made by the State legislature; and if they conflict therewith, the latter, so far as the conflict extends,

17   ceases to be operative.’” Foster, 522 U.S. at 69 (quoting Ex parte Siebold, 100 U.S. 371, 384
18   (1879)). In other words, if a state law governing elections for federal offices “conflicts with federal
19   law,” that state law is “void.” Id. at 74.

20           30.     State election laws must also comport with federal constitutional requirements. For
21   example, state election laws may not “deny to any person within” the state’s “jurisdiction the equal
22   protection of the laws.” U.S. Const. amend. XIV, §1.
23           31.     According to the Supreme Court, the Fourteenth Amendment of the U.S.
24   Constitution protects the “the right of all qualified citizens to vote, in state as well as in federal
25   elections.” Reynolds v. Sims, 77 U.S. 533, 554 (1964). “Obviously included within the right to
26   [vote], secured by the Constitution, is the right of qualified voters within a state to cast their ballots
27   and have them counted.” United States v. Classic, 313 U.S. 299, 315 (1941). “[T]he right to have
28   the vote counted” means counted “at full value without dilution or discount.” Reynolds, 377 U.S.
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 1   at 555 n.29 (quoting South v. Peters, 339 U.S. 276, 279 (1950) (Douglas, J., dissenting)).
 2           32.     Thus, both direct denials and practices that otherwise promote fraud and dilute the
 3   effectiveness of individual votes can violate the Fourteenth Amendment. See id. at 555 (“[T]he
 4   right of suffrage can be denied by a debasement or dilution of the weight of a citizen’s vote just as
 5   effectively as by wholly prohibiting the free exercise of the franchise.”).
 6           33.     “Every voter in a federal … election, whether he votes for a candidate with little
 7   chance of winning or for one with little chance of losing, has a right under the Constitution to have
 8   his vote fairly counted, without its being distorted by fraudulently cast votes.” Anderson v. United
 9   States, 417 U.S. 211, 227 (1974); see also Baker v. Carr, 369 U.S. 186, 208 (1962).
10           34.     Fraudulent votes “debase[]” and “dilute” the weight of each validly cast vote. See
11   Anderson, 417 U.S. at 227. When it comes to “‘dilut[ing] the influence of honest votes in an
12   election,’” whether the dilution is “‘in greater or less degree is immaterial’”; it is a violation of the
13   Fourteenth Amendment. Id. at 226.
14           35.     The Equal Protection Clause of the U.S. Constitution requires States to “‘avoid
15   arbitrary and disparate treatment of the members of its electorate.’” Charfauros v. Bd. of Elections,
16   249 F.3d 941, 951 (9th Cir. 2001) (quoting Bush v. Gore, 531 U.S. 98, 105 (2000)); see also Dunn

17   v. Blumstein, 405 U.S. 330, 336 (1972) (“[A] citizen has a constitutionally protected right to
18   participate in elections on an equal basis with other citizens in the jurisdiction.”); Gray v. Sanders,
19   372 U.S. 368, 380 (1963) (“The idea that every voter is equal to every other voter in his State, when

20   he casts his ballot in favor of one of several competing candidates, underlies many of [the Supreme
21   Court’s] decisions.”).
22           36.     “[T]reating voters differently” thus “violate[s] the Equal Protection Clause” when
23   the disparate treatment is the result of arbitrary, ad hoc processes. Charfauros, 249 F.3d at 954.
24   Indeed, a “minimum requirement for nonarbitrary treatment of voters [is] necessary to secure the
25   fundamental right” to vote. Bush, 531 U.S. at 105.
26           37.     The use of “standardless” procedures can violate the Equal Protection Clause. Bush,
27   531 U.S. at 103. “The problem inheres in the absence of specific standards to ensure … equal
28   application” of even otherwise unobjectionable principles. Id. at 106. Any voting system that
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 1   involves discretion by decisionmakers about how or where voters will vote must be “confined by
 2   specific rules designed to ensure uniform treatment.” Id. at 106.
 3   II.     Nevada law regulates the time, place, and manner of elections for federal offices.

 4           38.     The Nevada Legislature has exercised its power under the Elections Clause to pass

 5   laws regulating the time, place, and manner of elections for federal officers from Nevada. See, e.g.,

 6   NRS Chapters 293, 298, 304.

 7           39.     For example, Nevada law regulates the administration of primary elections,

 8   including setting rules for becoming a candidate for federal and state office and for how those

 9   candidates qualify for the primary-election ballot. See, e.g., NRS 293.175-293.190.

10           40.     Nevada law also regulates the administration of general elections. Among other

11   things, Nevada law establishes at least five different ways that Nevadans may vote in a general

12   election: by in-person voting at the polls, NRS 293.270-293.307; by provisional ballot, NRS

13   293.3078-293.3086; by absent ballot voting, NRS 293.3088-293.340; by voting in mailing

14   precincts, NRS 293.343-293.355; and by early in-person voting, NRS 293.356-293.361. Nevada

15   law also establishes how ballots are to be counted and the returns are to be canvassed. NRS

16   293.3625-293.397.

17           41.     Thus Nevada law itself distinguishes between absent ballot voting and mail-in ballot

18   voting. Absent ballot voting occurs when a voter affirmatively asks, on his or her own initiative,

19   the voter’s election official to mail a ballot to the voter. If the voter does not initiate that request,

20   the election official will not mail an absent ballot to the voter. In contrast, voters in mail-in precincts

21   automatically receive a ballot from their election official without having to affirmatively request

22   one.

23           42.     Those distinctions implicate important election-integrity interests. Absent ballots

24   correspond to voters who have specifically requested that type of ballot—and who have provided

25   information in their request that allows elections officials to verify that the voter is who he or she

26   purports to be. Election officials in mail-in precincts, however, send ballots to every active

27   registered voter on the precinct’s voter list—without first confirming whether those voters are still

28   alive and still live at their listed address, and thus remain eligible to vote in that precinct’s election.

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 1           43.     Among Nevada’s available voting options, Nevadans historically have chosen
 2   overwhelmingly to vote in person. Consider just the past two election cycles, where the Secretary’s
 3   own data show that 9 of every 10 ballots cast have been in-person votes.
 4           44.     In Nevada’s 2016 primary election, 89.49% of the total ballots cast were in-person
 5   votes cast during early voting (50.53% of total ballots) or on Election Day (38.96% of total ballots).
 6   Absent ballots constituted just 9.30% of total ballots cast, and the remaining 1.21% of total ballots
 7   cast were mailing ballots. Office of Nev. Sec’y of State Barbara K. Cegavske, 2016 Primary
 8   Election Turnout (June 23, 2016), https://bit.ly/31dPyux.
 9           45.     In Nevada’s 2016 general election, 93.02% of the total ballots cast were in-person
10   votes cast during early voting (62.41% of total ballots) or on Election Day (30.61% of total ballots).
11   Absent ballots constituted just 6.41% of total ballots cast, and the remaining 0.57% of total ballots
12   cast were mailing ballots. Office of Nev. Sec’y of State Barbara K. Cegavske, 2016 General
13   Election Turnout (Feb. 10, 2017), https://bit.ly/3a0U9nS.
14           46.     Nevadans’ overwhelming preference for voting in person remained unchanged two
15   years later. In Nevada’s 2018 primary election, 92.1% of the total ballots cast were in-person votes
16   cast during early voting (47.75% of total ballots) or on Election Day (44.35% of total ballots).

17   Absent ballots constituted just 7.21% of total ballots cast, and the remaining 0.69% of total ballots
18   cast were mailing ballots. Office of Nev. Sec’y of State Barbara K. Cegavske, 2018 Primary
19   Election Turnout (July 10, 2018), https://bit.ly/3fyX6NH.

20           47.     So too for Nevada’s 2018 general election. There, 91.04% of the total ballots cast
21   were in-person votes cast during early voting (56.80% of total ballots) or on Election day (34.24%
22   of total ballots). Absent ballots constituted just 8.57% of total ballots cast, and the remaining 0.39%
23   of total ballots cast were mailing ballots. Office of Nev. Sec’y of State Barbara K. Cegavske, 2018
24   General Election Turnout (Nov. 20, 2018), https://bit.ly/31kS81E.
25   III.    With little advance notice, Nevada holds a by-mail 2020 primary election.
26           48.     For Nevada’s 2020 primary election, however, all that changed. On March 24, 2020,
27   Secretary Cegavske announced that Nevada’s June 9, 2020, primary election would be an all-mail
28   election due to “the many uncertainties surrounding the COVID-19 pandemic.”                 Secretary
                                                            9
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 1    Cegavske Announces Plan to Conduct the June 9, 2020 Primary Election by All Mail (Mar. 24,
 2    2020), https://bit.ly/33mZt3p. The Secretary directed county and city elections officials to mail
 3    absent ballots to all active registered voters, who could return those ballots by mail in a postage-
 4    prepaid envelope or by dropping the ballot in person at a designated county location. See id. But
 5    the Secretary assured Nevadans that despite the move to an all-mail election, “at least one in-person
 6    polling location will be available in each county for the June 9, 2020 primary election” to
 7    “accommodate same-day voter registration” and to help “voters who have issues with the ballot
 8    that was mailed to them.” Id.
 9            49.     Nearly a month later, the Democratic National Committee, the Nevada State
10    Democratic Party, related entities, and four individual Nevadans sued Secretary Cegavske, the
11    Clark County Registrar of Voters, the county clerks of Washoe and Elko Counties, and Nevada
12    Attorney General Aaron Ford in Nevada state court. See Compl., Corona et al. v. Cegavske et al.,
13    No. 20-OC-00064-I-B (1st Judicial Dist. Apr. 16, 2020). Those plaintiffs contended, among other
14    things, that the Secretary’s plan unconstitutionally burdened Nevadans’ right to vote. They sought
15    an order requiring elections officials (1) to open more in-person voting places, and (2) to mail
16    absent ballots not just to active registered voters but also to inactive voters—persons the State had

17    learned, principally from return-mail notices from the U.S. Postal Service, no longer lived at the
18    address where they had registered to vote. The Republican National Committee and the Nevada
19    Republican Party successfully intervened as defendants in the Corona case.

20            50.     The plaintiffs in Corona moved for a preliminary injunction. Secretary Cegavske
21    and Attorney General Ford, the Washoe and Elko County Clerks, and the RNC and NVGOP
22    opposed the motion.
23            51.     But on the day his opposition brief was due, the Clark County Registrar told the
24    plaintiffs and other parties that the Clark County Commission had instructed him both to open
25    additional in-person voting places in Clark County and to mail ballots to all Clark County active
26    and inactive registered voters.
27            52.     After receiving notice of Clark County’s concessions, the Corona plaintiffs
28    withdrew their motion for a preliminary injunction. And Clark County conducted the primary
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 1    election as it said it would.
 2            53.     The consequences of this hurried switch—from Nevada elections occurring 90% by
 3    in-person voting to an all-mail election—should surprise no one. The Las Vegas Review-Journal
 4    reported that, within the first week of voting in Nevada’s first-ever all-mail primary, photographic
 5    evidence surfaced of numerous ballots “tossed in trash cans and littering apartment mailbox areas”
 6    in Clark County.
 7            54.     On May 8, 2020, one Clark County voter found “about a dozen ballots pinned to the
 8    complex’s bulletin board or otherwise thrown around.” Over the next few days, he found many
 9    more in nearby trash cans.
10            55.     In a different apartment complex, another voter saw ballots “sticking out of
11    residents’ mailboxes and ‘at least a dozen’ were sitting in nearby garbage cans.”
12            56.     Another resident received a ballot at her home addressed to her deceased mother.
13            57.     A U.S. Postal Service worker serving the area witnessed the breadth of the problem.
14    She recounted that, over the course of multiple days, she saw an “influx of absentee ballots”—as
15    many as 100 in a single day—that were “‘no good,’” often because they had been sent to recipients
16    who had moved or died. “In all, she said there were thousands [of ballots] sitting in crates with no

17    additional safeguards and marked to be sent back to the county.”
18            58.     Recent media reports confirm just how widespread those problems were. For the
19    2020 primary election, Clark County mailed out 1,325,934 ballots. Of that total, 223,469 were

20    returned as undeliverable. Rory Appleton, More than 223k mailed ballots returned undeliverable
21    in primary, Las Vegas Review-Journal (Aug. 14, 2020), https://bit.ly/3kWeEXB.
22            59.     Of those 223,469 undeliverable ballots, 58 percent belonged to inactive voters. But
23    “93,585 undeliverable ballots belonged to voters classified as active in Clark County’s voter rolls.”
24    Id.
25            60.     Clark County Registrar of Voters Joseph Gloria intends to mail general election
26    ballots to those more than 93,000 active registered voters whose primary-election ballots were
27    returned to Clark County as undeliverable.
28            61.     Those more than 93,000 ballots returned as undeliverable from registered voters do
                                                            11
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 1    not include the countless numbers of not-returned-as-undeliverable ballots observed strewn about
 2    apartment complexes, garbage cans, and other locations in Clark County as described above. The
 3    number of those kinds of ballots—which also should have been returned as undeliverable, but were
 4    not—will never be known.
 5            62.     Clark County’s voter rolls also contain more than 2,200 people who are deceased.
 6    Id.
 7    IV.     Other states rush to implement mail-in elections in 2020, with similarly problematic
 8    results.
 9            63.     Nevada is not the only jurisdiction that experienced those types of problems after a
10    hurried switch to mail-in voting for its Spring 2020 elections.
11            64.     First, consider Wisconsin. For its April 2020 primary election, “the Wisconsin
12    Election Commission received over 1.3 million requests for absentee ballots…, almost 1 million of
13    which were completed and returned by mail to the election offices. This was an increase of over
14    440 percent from the April 2016 election.” Office of Inspector General, U.S. Postal Service,
15    Management Alert: Timeliness of Ballot Mail in the Milwaukee Processing & Distribution Center
16    Service Area, Report No. 20-235-R20, at 3 (July 7, 2020), https://bit.ly/2YbjBT0.

17            65.     Given the substantial increase in absent voting, it’s no surprise that errors occurred
18    in processing those absent ballots. For example, “[t]hree tubs of absentee ballots from Appleton
19    and Oshkosh were found at the Milwaukee Processing & Distribution Center (P&DC) after polls

20    closed on April 7, 2020.” Id. “Absentee ballots requested on March 22 and 23, 2020, were not
21    delivered to voters.” Id. And—despite Postal Service guidance stating that “all ballots should be
22    postmarked by machine or by hand”—the Milwaukee Election Office received “about 390 voter
23    completed ballots with varying postmark issues including illegible postmarks, lack of a postmark,
24    undated postmarks, or hand-stamped postmarks.” Id. at 5.
25            66.     Next, consider reports from New Jersey media about similar problems that occurred
26    in Paterson, New Jersey in the May 12 election for Second Ward City Council—the “first election
27    in state history that was contested only by mail-in voting.”
28            67.     More than 800 mail-in ballots were set aside in Paterson due to suspicion that they
                                                            12
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 1    were gathered illegally.
 2            68.     Hundreds of mail-in ballots were collected from single mailboxes. In one case, 366
 3    ballots were picked up from the same mailbox.
 4            69.     In some cases, “large quantities of mail-in ballots were fastened together with a
 5    rubber-band and dropped at the same location.”
 6            70.     There have been reports of Paterson voters not receiving their ballots as well as
 7    reports of “letter carriers leaving massive numbers of ballots in a bin at a particular apartment
 8    building.”
 9            71.     In addition, one candidate reported that many people’s “votes were paid for and still
10    others who had no idea that they voted or who they voted for because someone filled out a mail-in
11    ballot for them.” Things are so bad that a court has temporarily blocked the winning candidate from
12    taking office. See Joe Malinconico, Paterson councilman-elect charged with election fraud can’t
13    take office, judge rules, Patterson Press (June 30, 2020), https://njersy.co/3gsZarF.
14            72.     Third, consider Connecticut. “Nearly 300,000 voters, about 20% of all registered
15    Democrats and Republicans in the state, requested absentee ballots” for the state’s August 2020
16    primary election. Joseph De Avila, Connecticut’s Expanded Mail-In Voting System Off to a Choppy

17    Start, Wall St. Journal (Aug. 9, 2020), https://on.wsj.com/3216bdd. That’s up from “about 10,000
18    or 15,000 absentee ballots” for a typical primary election. Id. Early returns of those ballots
19    suggested voter confusion could depress participation: four days before the election, only 500 of

20    the 3,500 voters in New Britain, Connecticut who requested absentee ballots had returned them, as
21    had only 1,800 of the 11,000 voters who requested absentee ballots in West Hartford. Id.
22            73.     Finally, consider New York’s June 2020 primary election. “More than 414,000 New
23    York City residents voted by absentee ballot in the June 23 primary, which is more than 10 times
24    the number of absentee ballots cast in the 2016 primary, according to court documents.” Katie
25    Honan, Judge’s Decision to Count Invalidated N.Y. Primary Ballots Shows Need for Improved
26    Voting Procedures, Wall St. Journal (Aug. 5, 2020), https://on.wsj.com/348fnPw. On August 3—
27    more than six weeks after the election—results of the primary election between Rep. Carolyn
28    Maloney and Suraj Patel for New York’s 12th District remained unknown. On that day, a federal
                                                            13
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 1    district judge in New York “ordered the counting of certain mail ballots that arrived after Election
 2    Day but without a postmark to prove when they were sent.” An Autopsy of New York’s Mail-Vote
 3    Mess, Wall St. Journal (Aug. 7, 2020), https://on.wsj.com/3kT7d3y.
 4            74.     It is still not known why absentee ballots were delivered without a postmark to
 5    election offices in New York even though the Postal Service’s “policy is to postmark all ballots,
 6    and the city was assured it would happen.” Id. But a manager at a New York postal processing
 7    facility testified during the lawsuit over the absentee ballots and “offered two possibilities.” Id.
 8    “First, postmarking machines can reject mail if, for example, it isn’t ‘folded over properly.’ On
 9    Election Day, USPS staff were ready to grab bypassed ballots and postmark them by hand.” Id.
10    That happened “‘for thousands of ballots’” on Election Day, but the manager “wasn’t sure…if this
11    happened before June 23.” Id. Second, “most prepaid mail usually skips postmarking altogether
12    and goes ‘directly to a sortation machine.’” Id. “On Election Day, USPS staff overrode that
13    procedure and forced everything through the postmarking system. But again, [the manager] wasn’t
14    sure about before June 23, saying it was ‘very possible’ that some ballots went straight to sorting.”
15    Id.
16            75.     News reports do not disclose whether the Postal Service would invoke those manual-

17    override processes on days after an Election Day to ensure postmarks were affixed both to
18    improperly folded mail and to prepaid ballots placed in the mail after an election. Even so, the
19    Postal Service’s pre-election performance alone led the co-chair of the New York State Board of

20    Elections to testify that he “‘do[esn’t] have a great deal of confidence in the U.S. Postal Service.’”
21    Id.
22            76.     The facts from those examples confirm the common-sense conclusion of the
23    Commission on Federal Election Reform—a bipartisan commission chaired by former President
24    Jimmy Carter and James Baker, and cited extensively by the U.S. Supreme Court—that absentee
25    voting is “the largest source of potential voter fraud.” Building Confidence in U.S. Elections 46,
26    https://bit.ly/3dXH7rU (Carter-Baker Report). Many well-regarded commissions and groups of
27    diverse political affiliation agree that “when election fraud occurs, it usually arises from absentee
28    ballots.” Michael T. Morley, Election Emergency Redlines 2, https://bit.ly/3e59PY1 (Morley,
                                                            14
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 1    Redlines). Such fraud is easier to do and harder to detect. As one federal court put it, “absentee
 2    voting is to voting in person as a take-home exam is to a proctored one.” Griffin v. Roupas, 385
 3    F.3d 1128, 1131 (7th Cir. 2004).
 4            77.     “Absentee balloting is vulnerable to abuse in several ways.” For one, ballots are
 5    sometimes “mailed to the wrong address or to large residential buildings” and “might get
 6    intercepted.” Carter-Baker Report 46. For another, absentee voters “who vote at home, at nursing
 7    homes, at the workplace, or in church are more susceptible to pressure, overt and subtle, or to
 8    intimidation.” Id. And “[v]ote buying schemes are far more difficult to detect when citizens vote
 9    by mail.” Id. For example, “[i]ndividuals can sign and sell their absentee ballot,” or “[o]ne spouse
10    can coerce the other to sign the ballot and hand it over to them to vote fraudulently.”
11            78.     This risk of abuse is magnified by the fact that “many states’ voter registration
12    databases are outdated or inaccurate.” Morley, Redlines 2.
13            79.     A 2012 study from the Pew Center on the States—which the U.S. Supreme Court
14    cited in a recent case—found that “[a]pproximately 24 million—one of every eight—voter
15    registrations in the United States are no longer valid or are significantly inaccurate”; “[m]ore than
16    1.8 million deceased individuals are listed as voters”; and “[a]pproximately 2.75 million people

17    have registrations in more than one state.”
18            80.     Similarly, a 2010 study by the Caltech/MIT Voting Technology Project found that
19    roughly 9% of listed registration records in the United States are invalid.” On top of those invalid

20    records, “in the typical state 1 in 65 records is duplicative, meaning that the same registrant is listed
21    multiple times.” The same study found that “[i]n the typical state, 1 in 40 counted votes in the 2008
22    general election cannot be matched to a registrant listed as having voted” and that “1 in 100 listed
23    registrants is likely to be deceased.”
24            81.     Federal law recognizes those risks of voting by mail and thus requires certain first-
25    time voters to present identification. See 52 U.S.C. § 21083(b).
26    V.      In a special session on a weekend vote, the Nevada Legislature passes AB4.
27            82.     After Nevada’s June 2020 primary election, the Corona plaintiffs amended their
28    complaint. The plaintiffs’ new claims raised constitutional challenges to Nevada laws that banned
                                                            15
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 1    ballot harvesting—the process of third parties unrelated to a voter collecting and returning that
 2    voter’s absent ballot. They also challenged the Nevada laws requiring election officials to verify a
 3    voter’s signature on an absent ballot against the signature on the voter’s registration. The parties
 4    conducted expedited discovery on those claims throughout July 2020 to prepare for a one-week
 5    trial on them scheduled to begin on Monday, August 17, 2020.
 6            83.     On Friday, July 31, 2020, the Nevada Legislature convened its 32nd Special Session
 7    in response to a call from Governor Sisolak.
 8            84.     One of the bills the Nevada Legislature considered during that special session was
 9    Assembly Bill 4.
10            85.     The Democratic majority in the Nevada Assembly introduced AB4 on the afternoon
11    of July 31, 2020. AB4 runs more than 60 single-spaced pages. Even so, the Assembly passed AB4
12    on a straight party-line vote mere hours after it was introduced.
13            86.     AB4 then went to the Nevada Senate, which considered it near midnight on Friday,
14    July 31, 2020, and again on Saturday, August 1, 2020, before passing it on Sunday, August 2, 2020,
15    on a straight party-line vote.
16            87.     Governor Sisolak signed AB4 into law on Monday, August 3, 2020.

17            88.     AB4 contains 88 sections. Sections 2 through 29 enact entirely new provisions in
18    the Nevada Revised Statutes. Within those, Sections 2 through 27 create a new framework for
19    primary or general elections held during a declared emergency or state of disaster, defined under

20    AB4 as an “affected election.” AB4, §§5, 8. Sections 30 through 83, in turn, amend scattered
21    existing provisions of NRS Chapters 293 and 293C. Sections 84 through 88 appropriate money to
22    implement the bill and establish effective dates for its provisions.
23            89.     Many of AB4’s provisions are head-scratching—particularly given the stark
24    irregularities in Nevada’s June 2020 primary election, and because AB4 changes so many election
25    laws so close to the 2020 general election. Indeed, Defendant herself recently acknowledged that
26    Nevada could (and should) successfully hold its 2020 general election without changing its election
27    laws. Barbara K. Cegavske, Nevada’s voting laws do not need to be changed, The Nevada
28    Independent (July 29, 2020), https://bit.ly/30qA4UO. But this lawsuit does not challenge AB4’s
                                                            16
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 1    wisdom (or lack thereof). Cf. New York State Bd. of Elections v. Lopez Torres, 552 U.S. 196, 209
 2    (2008) (Stevens, J., concurring) (“‘The Constitution does not prohibit legislatures from enacting
 3    stupid laws.’”). Rather, this lawsuit challenges the parts of AB4 that violate the Constitution or
 4    contradict federal law enacted under it, and that are thus invalid and must be enjoined.
 5            90.      First among AB4’s unconstitutional provisions is Section 20. It effectively delays
 6    the day for electing members of Congress and for appointing presidential electors that Congress
 7    has established in 2 U.S.C. §§1, 7 and 3 U.S.C. §1.
 8            91.      The “election” established in those federal statutes is “the combined actions of
 9    voters and officials meant to make a final selection of an officeholder.” Foster v. Love, 522 U.S.
10    67, 71 (1997).
11            92.      Section 20.2 “deem[s]” ballots “received by mail not later than 5 p.m. on the third
12    day following the election” “to have been postmarked on or before the day of the election” when
13    “the date of the postmark cannot be determined.”
14            93.      Section 20.2 resembles a provision of Nevada law that applies to absent ballots cast
15    in elections not held in a declared emergency. See NRS 293.317(2). But that provision became
16    effective only on January 1, 2020, and has thus never governed a general election.

17            94.      AB4 increases the likelihood that mail ballots will lack a legible postmark showing
18    when voters mailed them. AB4 instructs county and city clerks to send mail ballots to voters along
19    with “a return envelope” that “must include postage prepaid by first-class mail.” AB4, §16.3. The

20    U.S. Postal Service’s apparent policy of postmarking prepaid ballot-return envelopes is a stark
21    exception to its general policy of not applying postmarks to postage prepaid envelopes. See United
22    States Postal Serv., §1-1.3 Postmarks (“Postmarks are not required for mailings bearing a permit,
23    meter, or precanceled stamp for postage, nor to pieces with an indicia applied by various postage
24    evidencing systems.”), https://bit.ly/3kftt7l. And as Wisconsin’s and New York’s experiences
25    confirm, the Postal Service cannot uniformly apply that exception to its default no-postmark policy
26    when the number of mail ballots returned exceeds historical levels by orders of magnitude. Indeed,
27    as the Postal Service’s New York trial testimony confirms, postmarking a postage prepaid ballot
28    requires specific oversight of, and manual overrides to, the Postal Service’s ordinary processes—a
                                                            17
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 1    series of day- or week-specific decisions at each individual mail processing and distribution facility.
 2    So any given mail ballot may not be postmarked due to human, mechanical, or other oversights or
 3    errors. And election officials cannot determine whether a mail ballot without a postmark was timely
 4    cast unless they receive it on or before Election Day.
 5            95.     In addition, the U.S. Postal Service delivers the overwhelming majority of first-class
 6    mail sent from a Clark County address to another Clark County address, or from a Washoe County
 7    address to another Washoe County address, within one or two business days. That means mail sent
 8    within Clark County or Washoe County on a Wednesday or Thursday will usually be received
 9    within Clark County or Washoe County by the next Friday.
10            96.     As a result, a ballot mailed in Clark or Washoe Counties in a state-provided, postage
11    prepaid first-class envelope on the Wednesday or Thursday after Election Day will likely be
12    received at the Clark County Registrar’s Office or Washoe County Clerk’s Office before 5:00 pm
13    on the Friday after the election. Those ballots almost certainly will arrive without bearing a
14    postmark because the Postal Service has no need after Election Day to invoke the manual override
15    processes necessary to trigger its apparent ballot-specific exception to its default no-postmark-for-
16    prepaid-mail rule. And under Section 20.2, those ballots that arrive without a postmark must be

17    counted. Section 20.2 thus effectively extends the congressionally established Election Day.
18            97.     The opening that Section 20.2 creates for ballots to be cast after Election Day and
19    still counted is not just unlawful—it is unnecessary. Nevadans have ample time to request, receive,

20    fill out, return, and have their ballots counted by Election Day. On July 31, 2020, the Postal Service
21    General Counsel sent a letter to the Defendant stating the Postal Service’s opinion that Nevadans
22    “should have sufficient time to receive, complete, and return their ballots.” The president of the
23    American Postal Workers Union said it will be a “‘[p]iece of cake for postal workers’” to “handle
24    the country’s mail-in ballots with proper planning.” Erin Cox et al., Postal Service warns 46 states
25    their voters could be disenfranchised by delayed mail-in ballots, Wash. Post (Aug. 14, 2020),
26    https://wapo.st/2PYGt3o. Similarly, the Postal Service’s spokeswoman “said the agency ‘is well
27    prepared and has ample capacity to deliver America’s election mail.’” Id. If those assertions are
28    correct, Section 20.2’s postmark-free safe harbor, which violates federal law, is both illegal and
                                                            18
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 1    unnecessary.
 2            98.     Beyond that, Dr. Anthony Fauci, director of the National Institute of Allergy and
 3    Infectious Diseases, “said this week he believed Americans should be able to safely cast a ballot
 4    in-person, so long as they follow necessary social distancing protocols.” Connor Perret, Fauci says
 5    ‘there’s no reason’ in-person voting shouldn’t be safe with masks and proper social distancing,
 6    Business Insider (Aug. 15, 2020), https://bit.ly/3iNaL5F. “Fauci compared the safety of casting a
 7    ballot in person to that of an in-person shopping trip to the grocery store in ‘counties and cities that
 8    are doing it correctly.’” Id. “‘They have X’s every six or more feet,’ he added. ‘And it says, “Don’t
 9    leave this spot until the person in front of you left their spot.” And you can do that, if you go and
10    wear a mask, if you observe the physical distancing, and don’t have a crowded situation, there’s no
11    reason why you shouldn’t be able to do that.’” Id.
12            99.     Dr. Fauci’s comments are consistent with a CDC report finding “[n]o clear increase
13    in cases, hospitalizations, or deaths” due to COVID-19 “after the election” in Wisconsin. Heather
14    Paradis, M.D. et al., Notes from the field: Public Health Efforts to Mitigate COVID-19
15    Transmission During the April 7, 2020, Election—City of Milwaukee, Wisc., Mar. 13-May 5, 2020
16    (July 31, 2020), https://bit.ly/3g5464X.

17            100.    Sections 11 and 12 of AB4 are also unconstitutional. Those sections set forth the
18    number of in-person polling places for early voting (Section 11) and vote centers for day-of-election
19    voting (Section 12). Under those sections, the number of in-person voting places a county must

20    establish is tied to the county’s population, resulting in more in-person voting places per capita for
21    voters in urban counties than in rural counties. This disparate treatment of Nevada voters based on
22    county population violates rural voters’ rights under the Equal Protection Clause.
23            101.    Section 22 of AB4 is also unconstitutional. It provides that “the county or city clerk,
24    as applicable, shall establish procedures for the processing and counting of ballots.” Beyond that
25    general instruction, it provides only that counties “[m]ay authorize mail ballots to be processed and
26    counted by electronic means.” This lack of uniform standards to be applied across counties means
27    that Nevada counties will necessarily adopt different procedures for processing and counting
28    ballots, which could produce differences in rejection rates. This unequal, standardless treatment of
                                                            19
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 1    Nevada voters across counties constitutes an equal protection violation.
 2            102.    Finally, Section 25 of AB4 requires county or city clerks to count potentially
 3    fraudulent or invalid ballots, thereby diluting the votes of honest citizens and depriving them of
 4    their right to vote in violation of the Fourteenth Amendment. Section 25 provides that “[i]f two or
 5    more ballots are found folded together to present the appearance of a single ballot, they must be
 6    laid aside. If a majority of the inspectors are of the opinion that the mail ballots folded together
 7    were voted by one person, the mail ballots must be rejected and placed in an envelope, upon which
 8    must be written the reason for their rejection.” But Section 25 establishes no standard by which the
 9    inspectors should assess whether the ballots were voted by one person. Neither does Section 25
10    require inspectors to reject either of two or more ballots folded together when a majority of the
11    inspectors are of the opinion that the mail ballots were voted by more than one person. In that case,
12    Section 25 appears to contemplate that inspectors will count all of the ballots, even though at least
13    one of the voters has not complied with the bill’s signature-verification process. This loophole
14    invites fraud, coercion, theft, or otherwise illegitimate voting that dilutes the votes of honest citizens
15    and deprives them of their right to vote in violation of the Fourteenth Amendment.
16            103.    On March 12, 2020, Governor Sisolak declared a state of emergency in Nevada due

17    to COVID-19. That makes Nevada’s 2020 general election an “affected election” to which Sections
18    2 through 27 of AB4 apply. See AB4, §§5, 8.
19                                             CAUSES OF ACTION
                                                  COUNT I
20
      Violation of 3 U.S.C. §1, 2 U.S.C. §7, 2 U.S.C. §1; Elections Clause (U.S. Const. art. I, §4, cl.
21    1); Electors Clause (U.S. Const. art. II, §1, cl. 4); Supremacy Clause (U.S. Const. art. VI, §2)

22            104.    Plaintiffs incorporate all their prior allegations.

23            105.    3 U.S.C. §1 provides that “[t]he electors of President and Vice President shall be

24    appointed, in each State, on the Tuesday next after the first Monday in November, in every fourth

25    year succeeding every election of a President and Vice President.”

26            106.    2 U.S.C. §7 provides that “[t]he Tuesday next after the 1st Monday in November, in

27    every even numbered year, is established as the day for the election, in each of the States and

28    Territories of the United States, of Representatives and Delegates to the Congress commencing on

                                                            20
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 1    the 3d day of January next thereafter.”
 2            107.    2 U.S.C. §1 provides that, “[a]t the regular election held in any State next preceding
 3    the expiration of the term for which any Senator was elected to represent such State in Congress,
 4    at which election a Representative to Congress is regularly by law to be chosen, a United States
 5    Senator from said State shall be elected by the people thereof for the term commencing on the 3d
 6    day of January next thereafter.”
 7            108.    This trio of statutes “mandates holding all elections for Congress and the Presidency
 8    on a single day throughout the Union.” Foster v. Love, 522 U.S. 67, 70 (1997).
 9            109.    The word “election” in 3 U.S.C. §1 means the “combined actions of voters and
10    officials meant to make a final selection of an officeholder.” Foster, 522 U.S. at 71.
11            110.    It is the consummation of the process of electing an official.
12            111.    By its terms then, 3 U.S.C. §1 requires that the 2020 general election be
13    consummated on Election Day (November 3, 2020).
14            112.    A mail ballot is not a legal vote unless it is marked and cast on or before Election
15    Day. Whatever latitude state legislatures retain under federal law to define the process of casting
16    mail ballots through the U.S. Postal Service, they cannot create a process where ballots mailed after

17    Election Day can be considered timely.
18            113.    Consistent with 3 U.S.C. §1, “the Voting Rights Act Amendments of 1970 require
19    that citizens be allowed to vote by absentee ballot in Presidential elections on or before the day of

20    the election.” Voting Integrity Project, Inc. v. Bomer, 199 F.3d 773, 778 (5th Cir. 2000). See 52
21    U.S.C. §10502(d).
22            114.    “The regulations made by Congress are paramount to those made by the State
23    legislature; and if they conflict therewith, the latter, so far as the conflict extends, ceases to be
24    operative.” Foster v. Love, 522 U.S. 67, 69 (1997). See U.S. Const. art VI, cl. 2 (Supremacy Clause).
25            115.    Section 20.2 of AB4 conflicts with 3 U.S.C. §1 by permitting absent ballots that
26    have not been postmarked to be counted if they are received by 5:00 pm three days after Election
27    Day (based on a presumption that those ballots were mailed on or before Election Day).
28            116.    Absent ballots are mailed to the county clerk for the county in which the voter
                                                            21
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 1    resides.
 2            117.     Absent ballots are delivered by the U.S. Postal Service via First Class mail.
 3            118.     The estimated delivery time for First Class mail from one place in any Nevada
 4    county to another place within the same county is typically less than three days.
 5            119.     Section 20.2 of AB4 thus allows absent ballots to be cast after Election Day but still
 6    counted as lawfully cast votes in the 2020 general election.
 7            120.     Section 20.2 of AB4 is a particularly egregious violation of 3 U.S.C. §1 because it
 8    allows for absentee ballots to be cast after Election Day.
 9            121.     Federal law thus preempts Section 20.2 of AB4.
10            122.     Defendant has acted and will continue to act under color of state law to violate the
11    3 U.S.C. §1.
12            123.     Plaintiffs have no adequate remedy at law and will suffer serious and irreparable
13    harm to their constitutional rights unless Defendant is enjoined from implementing and enforcing
14    Section 20.2 of AB4.
                                                  COUNT II
15                        Violation of the Equal Protection Clause (42 U.S.C. §1983)
16            124.     Plaintiffs incorporate all their prior allegations.
17            125.     “The right to vote is protected in more than the initial allocation of the franchise.
18    Equal protection applies as well to the manner of its exercise. Having once granted the right to vote
19    on equal terms, the State may not, by later arbitrary and disparate treatment, value one person’s
20    vote over that of another. It must be remembered that the right of suffrage can be denied by a
21    debasement or dilution of the weight of a citizen's vote just as effectively as by wholly prohibiting
22    the free exercise of the franchise.” Bush v. Gore, 531 U.S. 98, 104-05 (2000).
23            126.     Sections 11 and 12 of AB4 violate the right to vote of rural voters by inhibiting their
24    ability to vote in person. More specifically, Sections 11 and 12 of AB4 authorize disparate treatment
25    of voters in rural counties with respect to the placement of polling places and vote centers for in-
26    person voting.
27            127.     Section 11 of AB4 outlines three categories of counties based upon total county
28
                                                            22
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 1    population and directs the county clerk in each county to provide for a particular number of polling
 2    places for early voting by personal appearance.
 3                a. In a county whose population is 700,000 or more, at least 35 polling places for early
 4                    voting by personal appearance, which may be any combination of temporary or
 5                    permanent polling places for early voting.
 6                b. In a county whose population is 100,000 or more but less than 700,000, at least 15
 7                    polling places for early voting by personal appearance, which may be any
 8                    combination of temporary or permanent polling places for early voting.
 9                c. In a county whose population is less than 100,000, at least 1 permanent polling place
10                    for early voting by personal appearance.
11            128.    Section 12 of AB4 outlines three categories of counties based upon total county
12    population and directs the county clerk in each county to establish a particular number of polling
13    places as vote centers for the day of the election.
14                a. In a county whose population is 700,000 or more, [the county clerk] must establish
15                    at least 100 vote centers for the day of the election.
16                b. In a county whose population is 100,000 or more but less than 700,000, [the county

17                    clerk] must establish at least 25 vote centers for the day of the election.
18                c. In a county whose population is less than 100,000, [the county clerk] may establish
19                    one or more vote centers for the day of the election.

20            129.    Sections 11 and 12 discriminate against voters in rural counties by authorizing more
21    polling places and vote centers per capita in urban areas.
22            130.    For example, data from the Secretary of State shows that there are 319,212
23    registered voters in Washoe County. AB4 authorizes a minimum of 15 polling places in Washoe
24    County, or at least 1 polling place for every 21,281 registered voters in Washoe County.
25            131.    Several rural counties—where AB4 authorizes only 1 polling place each—have
26    substantially higher numbers of registered voters per polling place. For example, Lyon County (1
27    polling place per 40,816 registered voters) and Douglas County (1 polling place per 41,649
28    registered voters) have approximately twice as many registered voters per polling place as Washoe
                                                            23
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 1    County. Several other rural counties have substantially higher numbers of registered voters per
 2    polling place than Washoe County: Carson City: 1 polling place per 37,624 registered voters; Elko
 3    County: 1 polling place per 29,131 registered voters; Nye County: 1 polling place per 34,431
 4    registered voters.
 5            132.    Similarly, AB4 authorizes a minimum of 25 vote centers in Washoe County, or at
 6    least 1 vote center for every 12,768 registered voters.
 7            133.    Several rural counties—where AB4 authorizes only 1 vote center each—have
 8    substantially higher numbers of people per vote center. For example, Lyon County: (1 vote center
 9    per 40,816 registered voters), Douglas County (1 vote center per 41,649 registered voters), and
10    Carson City (1 vote center per 37,624 registered voters) all have approximately three times as many
11    registered voters per vote center as Washoe County. Several other rural counties have substantially
12    higher numbers of registered voters per vote center than Washoe County: Elko County: 1 vote
13    center per 29,131 registered voters; Nye County: 1 vote center per 34,431 registered voters;
14    Churchill County: 1 vote center per 15,987 registered voters.
15            134.    By limiting their ability to cast ballots via in-person voting through reduced numbers
16    of polling places and vote centers, Sections 11 and 12 of AB4 engage in disparate treatment with

17    respect to rural voters.
18            135.    “A citizen, a qualified voter, is no more nor no less so because he lives in the city or
19    on the farm. This is the clear and strong command of our Constitution’s Equal Protection Clause.”

20    Reynolds v. Sims, 377 U.S. 533, 568 (1964). AB4 infringes “the basic principle of equality among
21    voters within a State … that voters cannot be classified, constitutionally, on the basis of where they
22    live.” Id. at 560.
23            136.    Sections 11 and 12 of AB4 thus violate the Equal Protection Clause.
24            137.    Defendant has acted and will continue to act under color of state law to violate the
25    Equal Protection Clause of the Fourteenth Amendment.
26            138.    Plaintiffs have no adequate remedy at law and will suffer serious and irreparable
27    harm to their constitutional rights unless Defendant is enjoined from implementing and enforcing
28    Sections 11 and 12 of AB4.
                                                            24
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 1                                               COUNT III
                          Violation of the Equal Protection Clause (42 U.S.C. §1983)
 2
                139.   Plaintiffs incorporate all their prior allegations.
 3
                140.   “The right to vote is protected in more than the initial allocation of the franchise.
 4
      Equal protection applies as well to the manner of its exercise. Having once granted the right to vote
 5
      on equal terms, the State may not, by later arbitrary and disparate treatment, value one person's vote
 6
      over that of another. It must be remembered that the right of suffrage can be denied by a debasement
 7
      or dilution of the weight of a citizen's vote just as effectively as by wholly prohibiting the free
 8
      exercise of the franchise.” Bush v. Gore, 531 U.S. 98, 104-05 (2000).
 9
                141.   In particular, the Equal Protection Clause imposes a “minimum requirement for
10
      nonarbitrary treatment of voters” and forbids voting systems and practices that distribute election
11
      resources in “standardless” fashion, without “specific rules designed to ensure uniform treatment.”
12
      Bush v. Gore, 531 U.S. 98, 105-06 (2000); League of Women Voters of Ohio v. Brunner, 548 F.3d
13
      463, 477-78 (6th Cir. 2008).
14
                142.   The Supreme Court has instructed that the “formulation of uniform rules” is
15
      “necessary” because the “want of” such rules may lead to “unequal evaluation of ballots.” Bush v.
16
      Gore, 531 U.S. 98, 106 (2000).
17
                143.   Section 22 of AB4 requires each “county or city clerk” (as applicable) to “establish
18
      procedures for the processing and counting of mail ballots.”
19
                144.   Section 22 of AB4 provides no guidance or guardrails of any kind for the
20
      establishment of “procedures for the processing and counting of mail ballots.”
21
                145.   Section 22 thus violates the “minimum requirement for nonarbitrary treatment of
22
      voters” by authorizing “standardless” procedures for the processing and counting of mail ballots,
23
      without “specific rules designed to ensure uniform treatment.” Bush v. Gore, 531 U.S. 98, 105-06
24
      (2000).
25
                146.   Further, Section 22 provides no “minimal procedural safeguards” to protect against
26
      the “unequal evaluation” of mail ballots. Bush v. Gore, 531 U.S. 98, 109 (2000).
27
                147.   Section 22 of AB4 instructs each county or city clerk that they “may authorize mail
28
                                                            25
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 1    ballots to be processed and counted by electronic means.”
 2            148.    Nevada’s counties thus have the option of processing and counting mail ballots by
 3    either electronic means (of any kind, apparently) or manually.
 4            149.    Section 22 thus expressly authorizes Nevada’s counties to “use[] varying standards
 5    to determine what [i]s a legal vote,” contrary to the Equal Protection Clause. Bush v. Gore, 531
 6    U.S. 98, 107 (2000).
 7            150.    Section 22 of AB4 thus violates the Equal Protection Clause.
 8            151.    Defendant has acted and will continue to act under color of state law to violate the
 9    Equal Protection Clause of the Fourteenth Amendment.
10            152.    Plaintiffs have no adequate remedy at law and will suffer serious and irreparable
11    harm to their constitutional rights unless Defendant is enjoined from implementing and enforcing
12    Section 22 of AB4.
                                                 COUNT IV
13                        Violation of the Equal Protection Clause (42 U.S.C. §1983)
14            153.    Plaintiffs incorporate all their prior allegations.
15            154.    “The right to vote is protected in more than the initial allocation of the franchise.
16    Equal protection applies as well to the manner of its exercise. Having once granted the right to vote
17    on equal terms, the State may not, by later arbitrary and disparate treatment, value one person's vote
18    over that of another. It must be remembered that the right of suffrage can be denied by a debasement
19    or dilution of the weight of a citizen's vote just as effectively as by wholly prohibiting the free
20    exercise of the franchise.” Bush v. Gore, 531 U.S. 98, 104-05 (2000).
21            155.    In particular, the Equal Protection Clause imposes a “minimum requirement for
22    nonarbitrary treatment of voters” and forbids voting systems and practices that distribute election
23    resources in “standardless” fashion, without “specific rules designed to ensure uniform treatment.”
24    Bush v. Gore, 531 U.S. 98, 105-06 (2000); League of Women Voters of Ohio v. Brunner, 548 F.3d
25    463, 477-78 (6th Cir. 2008).
26            156.    The Supreme Court has instructed that the “formulation of uniform rules” is
27    “necessary” because the “want of” such rules may lead to “unequal evaluation of ballots.” Bush v.
28
                                                            26
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 1    Gore, 531 U.S. 98, 106 (2000).
 2            157.    Section 25 of AB4 provides that “[i]f two or more mail ballots are found folded
 3    together to present the appearance of a single envelope,” and “a majority of the inspectors are of
 4    the opinion that the mail ballots folded together were voted by one person, the mail ballots must be
 5    rejected.” §25.2.
 6            158.    Section 25 provides no guidance or guardrails of any kind for the establishment of
 7    standards “a majority of inspectors” should apply to determine whether “the mail ballots folded
 8    together were voted by one person.”
 9            159.    Section 25 thus violates the “minimum requirement for nonarbitrary treatment of
10    voters” by authorizing “standardless” procedures for determining the validity of multiple ballots
11    within a single envelope, without “specific rules designed to ensure uniform treatment.” Bush v.
12    Gore, 531 U.S. 98, 105-06 (2000).
13            160.    Further, Section 25 provides no “minimal procedural safeguards” to protect against
14    the “unequal evaluation” of multiple ballots within a single envelope. Bush v. Gore, 531 U.S. 98,
15    109 (2000).
16            161.    Section 25 thus will result in Nevada’s counties “us[ing] varying standards to

17    determine what [i]s a legal vote,” contrary to the Equal Protection Clause. Bush v. Gore, 531 U.S.
18    98, 107 (2000).
19            162.    Section 25 of AB4 thus violates the Equal Protection Clause.

20            163.    Defendant has acted and will continue to act under color of state law to violate the
21    Equal Protection Clause of the Fourteenth Amendment.
22            164.    Plaintiffs have no adequate remedy at law and will suffer serious and irreparable
23    harm to their constitutional rights unless Defendant is enjoined from implementing and enforcing
24    Section 25 of AB4.
25                                                 COUNT V
26                              Violation of the Right to Vote (42 U.S.C. §1983)
              165.    Plaintiffs incorporate all their prior allegations.
27
              166.    AB4, which upends Nevada’s election laws and requires massive changes in
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                                                            27
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 1    election procedures and processes, makes voter fraud and other ineligible voting inevitable.
 2            167.    AB4 requires counties to accept and count ballots received after Election Day—
 3    including ballots that may have been mailed after Election Day. §§20.1(b)(2), 20.2. It establishes a
 4    disparate number of in-person places for early voting and Election Day voting throughout Nevada
 5    based on a county’s population, resulting in fewer in-person voting places for rural voters. §§11,
 6    12. It fails to establish uniform statewide standards for processing and counting ballots, §22, or for
 7    determining whether multiple ballots received in one envelope must be rejected, §25. It also
 8    authorizes ballot harvesting. §21.
 9            168.    The combined effect of those problematic provisions is to dilute Nevadans’ honest
10    votes. Dilution of honest votes, to any degree, by the casting of fraudulent or illegitimate votes
11    violates the right to vote. Reynolds, 377 U.S. at 555; Anderson, 417 U.S. at 226-27; Baker, 369
12    U.S. at 208.
13            169.    The aspects of AB4 identified above facilitate fraud and other illegitimate voting
14    practices for the reasons described above. Those provisions thus dilute the value of honest, lawful
15    votes and therefore violate the Fourteenth Amendment to the U.S. Constitution.
16            170.    Defendant has acted and will continue to act under color of state law to violate the

17    Fourteenth Amendment.
18            171.    Plaintiffs have no adequate remedy at law and will suffer serious and irreparable
19    harm to their constitutional rights unless Defendant is enjoined from implementing and enforcing

20    AB4.
21            WHEREFORE, Plaintiffs ask this Court to enter judgment in their favor and provide the
22    following relief:
23       a. A declaratory judgment that AB4 violates 2 U.S.C. §§1, 7 and 3 U.S.C. §1, the Elections
24            Clause, the Electors Clause, the Supremacy Clause, and the Fourteenth Amendment.
25       b. A permanent injunction prohibiting Defendant from implementing and enforcing AB4;
26       c. A temporary restraining order and preliminary injunction granting the relief specified
27            above during the pendency of this action;
28       d. Plaintiffs’ reasonable costs and expenses, including attorneys’ fees; and
                                                            28
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 1       e. All other preliminary and permanent relief that Plaintiffs are entitled to, and that the Court
 2            deems just and proper.
 3
      Dated: August 20, 2020                                     Respectfully submitted,
 4
 5
                                                                 /s/ J. Colby Williams
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23                                                                **Pro hac vice pending
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 1                                        CERTIFICATE OF SERVICE
 2            I hereby certify that on the 20th day of August, 2020 a true and correct copy of the foregoing
 3
      Amended Complaint for Declaratory and Injunctive Relief was served via the United States District
 4
      Court’s CM/ECF system on all parties or persons requiring such notice.
 5
 6
 7                                                      By: /s/ J. Colby Williams
                                                          An employee of Campbell & Williams
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